                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                         CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
              Plaintiff,                                No. 06-CR-162-LRR
 vs.
                                                          SENTENCING
 LAMONT WILLIAM PAPAKEE,
                                                         MEMORANDUM
              Defendant.
                               ____________________


                                 I. INTRODUCTION
       The matter before the court is the sentencing of Defendant Lamont William
Papakee.
                  II. RELEVANT PROCEDURAL BACKGROUND
       On March 7, 2007, Defendant was charged in a two-count Superseding Indictment
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with his co-defendant, Connie Frances Blackcloud (“Blackcloud”). Count 1 charged that,
on or about September 6, 2006, defendants committed the crime of Aggravated Sexual
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Abuse in Indian Country, in violation of 18 U.S.C. §§ 2, 1151, 1153 and 2241(a)(1).

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        On December 7, 2006, Defendant and Blackcloud were charged in a one-count
Indictment with Sexual Abuse in Indian Country, in violation of 18 U.S.C. §§ 2, 1151,
1153 and 2242(2).
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             § 2241. Aggravated sexual abuse

             (a) By force or threat.—Whoever . . . knowingly causes
             another person to engage in a sexual act—

             (1) by using force against that other person;

                                        ****

                                                                          (continued...)


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Count 2 charged defendants with Sexual Abuse in Indian Country, on the same date, in
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violation of 18 U.S.C. §§ 2, 1151, 1153 and 2242(2).
      On June 25, 26, 27 and 28, 2007, defendants appeared before the court for a jury
trial on both counts of the Superseding Indictment. On June 28, 2007, the jury returned
verdicts of not guilty as to both defendants on Count 1 and verdicts of guilty as to both
defendants as to Count 2. The undersigned accepted the jury’s verdicts.


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          (...continued)
                or attempts to do so, shall be fined under this title, imprisoned
                for any term of years or life, or both.

18 U.S.C. § 2241(a)(1) (emphasis in original). Section 2241 was amended in 2007, see
Pub. L. 110-161, 121 Stat. 2082 (Dec. 26, 2007), however, such amendment is not
relevant here.
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                § 2242. Sexual abuse

                Whoever . . . knowingly—

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                (2) engages in a sexual act with another person if that other
                person is—

                       (A) incapable of appraising the nature of the conduct;
                or

                     (B) physically incapable of declining participation in, or
                communicating unwillingness to engage in, that sexual act;

                or attempts to do so, shall be fined under this title and
                imprisoned for any term of years or for life.

18 U.S.C. § 2242(2) (2006) (emphasis in original). Section 2242 was amended in 2007,
see Pub. L. 110-161, 121 Stat. 2082 (Dec. 26, 2007), however, such amendment is not
relevant here.

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      On February 27, 2008, the United States Probation Office (“USPO”) filed
Defendant’s Presentence Investigation Report (“PSIR”).          On April 9, 2008, the
government and Defendant filed their respective sentencing memoranda.
      On April 23, 2008, the court held a sentencing hearing (“Hearing”). Assistant
United States Attorney Robert L. Teig represented the government. Attorney Jonathan B.
Hammond represented Defendant, who was personally present.
      At the Hearing, the court sentenced Defendant to 360 months of imprisonment.
The instant Sentencing Memorandum is designed to explain how the court arrived at
Defendant’s sentence. It is not comprehensive and should be read in conjunction with the
record the court made at the Hearing.
                          III. SENTENCING FRAMEWORK
      The Sentencing Guidelines are no longer mandatory. See Kimbrough v. United
States, 128 S. Ct. 558, 574 (2007) (discussing United States v. Booker, 543 U.S. 220, 245
(2005)). They are advisory. Id.
        The Eighth Circuit Court of Appeals states that a “district court should begin [a
sentencing proceeding] with a correct calculation of the advisory Sentencing Guidelines
range.” United States v. Braggs, 511 F.3d 808, 812 (8th Cir. 2008). The advisory
Sentencing Guidelines range “is arrived at after determining the appropriate Guidelines
range and evaluating whether any traditional Guidelines departures are warranted.” United
States v. Washington, 515 F.3d 861, 865 (8th Cir. 2008). “Then, after giving both parties
a chance to argue for the sentence they deem appropriate, the court should consider all of
the factors listed in 18 U.S.C. § 3553(a) to determine whether they support the sentence
requested by either party.” Braggs, 511 F.3d at 812. “The district court may not assume
that the Guidelines range is reasonable, but instead ‘must make an individualized
assessment based on the facts presented.’” Id. (quoting United States v. Gall, 128 S. Ct.
586, 597 (2007)). “If the court determines that a sentence outside of the Guidelines is


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called for, it ‘must consider the extent of the deviation and ensure that the justification is
sufficiently compelling to support the degree of the variance.’” Id. “The sentence chosen
should be adequately explained so as ‘to allow for meaningful appellate review and to
promote the perception of fair sentencing.’” Id.
       At the Hearing, the court based its factual findings upon the trial evidence and the
uncontested provisions of the PSIR. The court’s factual findings were not necessarily
consistent with those of the jury, which inexplicably acquitted defendants of Count 1. In
the Eighth Circuit, it is settled that “[a]cquitted conduct may be used for sentencing
purposes if proved by a preponderance of the evidence.” United States v. No Neck, 472
F.3d 1048, 1055 (8th Cir. 2007) (citing United States v. Whatley, 133 F.3d 601, 606 (8th
Cir. 1998)). Other Circuit Courts of Appeals agree. See, e.g., United States v. Jimenez,
513 F.3d 62, 88 (3d Cir. 2008) (“The counts of conviction determined [the defendant’s]
sentencing exposure, and the district court was free to consider relevant conduct, including
conduct resulting in acquittal, that was proved by a preponderance of the evidence in
determining [the defendant’s] sentence within the original statutory sentencing range.”);
United States v. Four Pillars Enter. Co., Ltd., 253 F.App’x 502, 508 (6th Cir. 2007)
(same); United States v. Tello-Nicio, 242 F.App’x 892, 893 (4th Cir. 2007) (same); United
States v. Horne, 474 F.3d 1004, 1006 (7th Cir. 2007) (same); United States v. Mercado,
474 F.3d 654, 657-58 (9th Cir. 2007) (same).
       Defendant appeared to concede that, under governing precedent, the court could
base his sentence in part upon acquitted conduct. However, Defendant urged the court to
hold the government to a clear-and-convincing burden of proof. Defendant contended that,
because the consideration of judge-found facts in his case could significantly increase his
advisory Sentencing Guidelines range, due process demanded a higher burden of proof.
See, e.g., United States v. Kikumura, 918 F.2d 1084, 1089 (3d Cir. 1990) (citing
McMillan v. Pennsylvania, 477 U.S. 79, 88 (1986) (stating, in dictum, that a sentencing


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enhancement should not become “the tail which wags the dog of the substantive offense”)).
         Due process does not demand that the court hold the government to a clear-and-
convincing burden of proof at sentencing in this case. The Eighth Circuit Court of
Appeals recently addressed Kikumura in United States v. Bradford, 499 F.3d 910, 920 (8th
Cir. 2007). In dicta, the Eighth Circuit Court of Appeals indicated that due process might
require a higher burden of proof in cases where “‘the magnitude of a proposed [increase
based on judge-found facts] dwarfs the guideline range applicable to the substantive
offense[] of conviction.’” Bradford, 499 F.3d at 919 (quoting Kikumura, 918 F.2d at
1089).       After Bradford was decided, however, the Third Circuit Court of Appeals
expressly disavowed Kikumura. See United States v. Fisher, 502 F.3d 293, 305 (3d. Cir.
2007), cert. denied, 76 U.S.L.W. 3498 (U.S. Mar. 17, 2008) (explaining why United
States v. Booker, 543 U.S. 220 (2005), completely undermined Kikumura’s jurisprudential
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foundation).        The Third Circuit Court of Appeals succinctly stated:
                   [A]lthough concerns about the “tail wagging the dog” were
                   valid under a mandatory guideline system—like the
                   Pennsylvania system addressed in McMillan and the federal
                   Guidelines when Kikumura was decided—these concerns were
                   put to rest when Booker rendered the Guidelines advisory. For
                   this reason, we hold that Kikumura is no longer valid as long
                   as the Guidelines are advisory.
Id.
         Even if the court were to assume that due process could somehow require a higher
burden of proof in some cases, any increase attributable to judge-found facts is not an
extreme enough increase to warrant such a higher burden in this case. At most, Defendant



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          The Eighth Circuit Court of Appeals subsequently affirmed a district court case
that recognized that Kikumura was no longer good law. See United States v. Grover, 511
F.3d 779 (8th Cir.), aff’g 486 F. Supp. 2d 868, 872 n.2 (N.D. Iowa 2007) (“Kikumura is
no longer good law, insofar as subsequent Supreme Court cases have completely eroded
its jurisprudential basis.”).

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is subject to the equivalent of a nine-level increase based on judge-found facts. See, e.g.,
United States v. Bradford, 499 F.3d 910, 920 (8th Cir. 2007) (holding twelve-level
enhancement was insufficient to trigger increased burden of proof), cert. denied, 128 S.
Ct. 1446 (2008).
                                IV. FINDINGS OF FACT
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         The court found the following facts by a preponderance of the evidence:
         In late August of 2006, Luci Dale a/k/a “Lulu” moved to the Sac and Fox Tribe of
the Mississippi in Iowa’s Meskwaki Settlement in Tama County, Iowa (“Settlement”).
Dale, who was a member of the Omaha Tribe of Nebraska, moved to the Settlement from
Nebraska “to sober up[,] . . . get a job, and settle down.” Trial Transcript at 4. Dale,
an alcoholic herself, wanted to get away from alcoholics in her family. Dale knew several
people who lived on the Settlement, including Alex Mauskemo and Monica Papakee
(Defendant’s sister). They were Dale’s “friends from back in the days.” Id. at 5.
         Dale moved in with Mauskemo and applied for a job at the Meskwaki Bingo Casino
Hotel.       Dale managed to stay sober for approximately her first two weeks on the


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         A finding that Defendant is a career offender subjects Defendant to a seven-level
increase to his base offense level (30 to 37) and a two-category increase to his criminal
history category (IV to VI). This is equivalent to an adjusted offense level of 39, Criminal
History Category IV.
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         As a general matter, the court found Sheila Papakee and Luci Dale to be credible
witnesses. Unlike other witnesses in this case, Sheila Papakee is not an alcoholic and was
not intoxicated or drinking alcohol during the relevant time-period. The court recognizes
that Dale was intoxicated throughout the relevant time-period and unconscious when
sexually assaulted in Defendant’s living room. As a consequence, Dale was genuinely
confused at the time of trial as to the timing of many of the events in question. However,
the court found her testimony as to what Defendant and Blackcloud did to her in
Defendant’s bedroom to be fully credible.
       The court did not find the testimony of Alicia Papakee (Defendant’s sister) or
Marland Sanache (Defendant’s good friend) to be credible insofar as such testimony
conflicted with the testimony of other witnesses.

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Settlement.
      In early September of 2006, Monica Papakee introduced Dale to Defendant and
Blackcloud a/k/a “Uncle Connie.” Shortly thereafter, Dale moved in with Defendant at
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his residence on the Settlement at 315 Red Earth Drive, Tama County, Iowa. Dale slept
in Defendant’s bedroom, while he slept on the couch or the floor in the living room. At
the time, Blackcloud was also living at Defendant’s house.
      During the brief period while they lived together, each day Dale, Blackcloud and
Defendant drank alcohol until they were intoxicated. Dale drank beer and vodka. Dale
also smoked cigarettes when she was drunk.
      Blackcloud verbally and physically abused Dale, often in a most brutal fashion.
Blackcloud called Dale “a wanna-be white bitch” and told her she did not belong on the
Settlement because she was not a Meskwaki. Id. at 16. Blackcloud pulled Dale’s hair,
scratched Dale and repeatedly hit her in the face with a closed fist. For his part,
Defendant called Dale a “bitch.”
      Dale did not fight back “because it wasn’t [her] place.” Id. at 18. When Dale
asked Defendant and Blackcloud to stop hurting her, Blackcloud “just laughed” and
Defendant “would say he was just playing.” Id.
      On September 4, 2006 (Labor Day), Dale, Blackcloud and Defendant were
intoxicated in Defendant’s house. Sometime in the morning or early afternoon, Dale
passed out or fell asleep on a couch in the living room. Defendant and Blackcloud stripped
off Dale’s pants and placed a large broken cucumber in her vagina. The cucumber was
approximately two inches in diameter and three to four inches long.
      Meanwhile, Sheila Papakee (Defendant’s cousin) drove to Defendant’s house with
her children and their bicycles. Sheila Papakee parked her truck and took her children on
a walk on a nearby paved trail.

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          This address is now known as 319 Deerfield Crossing, Tama County, Iowa.

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      Around 1 p.m., Sheila Papakee and her children finished their walk. Sheila
Papakee left her children outside and went into Defendant’s house. Once inside the house,
Sheila Papakee found Defendant, Blackcloud and Dale intoxicated. Defendant and Dale
were sitting upright and leaning back on a couch together. Defendant was awake; Dale
was passed out and had a blanket covering her waist.          Blackcloud was drunk and
wandering around the house.
      Defendant motioned at Dale and asked Sheila Papakee: “Do you want to check this
out?” Id. at 230. Before Sheila Papakee could respond, Defendant flipped up the blanket
around Dale’s waist. Dale was naked at the waist and had a broken cucumber protruding
from her vagina.
      Sheila Papakee was “shocked.”        Id. at 233.    Suddenly, Sheila Papakee and
Defendant heard Sheila Papakee’s children coming into the house. Defendant re-covered
Dale’s waist, and Sheila Papakee left the house. Sheila Papakee and her children drove
home, which was approximately five minutes away. Sheila Papakee did not call the police
because she was “scared.” Id. at 252.
      Once home, Sheila Papakee realized that she had left the children’s bicycles at
Defendant’s house. Around 2 p.m., Sheila Papakee returned to Defendant’s house to pick
up the bicycles and to check on Dale. Sheila Papakee was worried about Dale. Sheila
Papakee loaded the bicycles in her truck and went in the house.
      When Sheila Papakee entered Defendant’s house for the second time, Defendant,
Blackcloud and Dale were all awake, intoxicated and sitting on the couch drinking alcohol.
Dale was fully clothed and appeared to be fine. After about ten or fifteen minutes, Sheila
Papakee left.
      Dale eventually fell asleep in Defendant’s bed. Although it was the middle of the
day, the shades were drawn and the room was dark.
      Sometime thereafter, Defendant and Blackcloud went into the bedroom. Defendant


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and Blackcloud turned on the light and woke up Dale. Blackcloud was carrying a large
curved cucumber and smoking a cigarette.
       Dale was laying on her back in the bed. Defendant put his knees on Dale’s
shoulders and held Dale down on the bed. Blackcloud then pulled apart Dale’s legs and
ripped Dale’s pajama pants.
       Defendant repeatedly head-butted Dale in the face while he was holding her down
on the bed. He hit her on the side of her face. Blackcloud whacked Dale upside the head
with a glass vodka bottle and hit her with the metal end of a Bic lighter. Blackcloud twice
pressed a lit cigarette directly onto Dale’s skin—once on Dale’s buttock and once on her
thigh. Defendant and Blackcloud then pushed the cucumber into Dale’s vagina.
       Dale drifted in and out of consciousness during the attack, which lasted
approximately fifteen to twenty minutes. When conscious, Dale continuously resisted
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Defendant and Blackcloud; Dale kicked her legs and moved her arms.           Blackcloud told
Dale to “shut up and take it like a man.” Id. at 26. Defendant and Blackcloud repeatedly
laughed at Dale.
                                                                                    9
       Around 3 p.m., Sheila Papakee entered Defendant’s house for a third time. Dale,
Defendant and Alicia Papakee (Defendant’s sister) were in the bedroom. Blackcloud was
walking from the bedroom into the living room.
       Sheila Papakee entered the bedroom and found Dale laying on her back on the bed.
Defendant and Alicia Papakee were sitting on the sides of the bed. The curtains were still
drawn.


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           At no time did Dale consent to having a cucumber in her vagina.
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         When Sheila Papakee returned home after her second time in Defendant’s home,
she called Defendant on the telephone and asked how Dale was doing. Defendant did not
respond; instead, he gave the phone to Dale. Sheila Papakee asked Dale: “Are you all
right? Are you okay?” Id. at 277. Dale only cried in response. Concerned, Sheila
Papakee decided to return to Defendant’s house.

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       Alicia Papakee was tending to Dale. Alicia Papakee was applying pressure to
Dale’s forehead with linens, in an attempt to stop Dale from bleeding. Dale bled on a
number of linens in the bedroom.
       Sheila Papakee ordered Blackcloud to return to the bedroom to help Dale. Sheila
Papakee asked Blackcloud: “What the fuck did you hit Dale with?” See id. at 247.
Blackcloud replied, “My Bic [lighter].” Id. Blackcloud lay beside Dale and started
putting pressure on her forehead.
       Eventually, Dale stopped bleeding. Sheila Papakee escorted Dale out of the house
and drove her to her father Rodney Papakee’s house. As Sheila Papakee left the house,
she saw Defendant pick the broken cucumber off of the living room floor and eat it.
       Dale and Sheila Papakee did not immediately report the sexual assault to law
enforcement. They were afraid to call law enforcement.
       That night, Rita Papakee (one of Defendant’s cousins) stayed up all night on a
“drunken binge” with two relatives. Id. at 133. The three relatives, all intoxicated, drove
to Defendant’s house on the morning of September 5, 2006. Defendant was out of alcohol,
so the three relatives brought him alcohol and started drinking with him in his house.
       Later that morning, Rita Papakee drove Defendant to Rodney Papakee’s house.
Monica Papakee, Sheila Papakee and Dale were there. Sheila Papakee had already told
Monica Papakee about what she had seen at Defendant’s house the previous day. Rita
Papakee saw a laceration on Dale’s head.
       Monica Papakee and Sheila Papakee told Rita Papakee what Sheila Papakee had
seen at Defendant’s house the previous day. Dale confirmed that “they” had “used a
cucumber on me” “front and back” Id. at 128-29. Rita Papakee, who was “outraged” and
found the allegations “disturbing and disgusting,” decided to confront Defendant. Id. at
110.
       An intoxicated Rita Papakee asked Defendant: “What the fuck did you do? What


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the fuck’s the matter with you?” Id. at 110. Defendant did not deny or confirm sexually
assaulting Dale. Defendant simply responded: “Why are you yelling at me? . . . [W]hat
is she to you? What does it matter to you?” Id. at 110-11. Rita Papakee asked
Defendant: “How would you feel if somebody did that to your daughter?” Id. at 111.
Defendant responded: “You don’t even know this woman. What does it matter?” Id.
       Still intoxicated, Rita Papakee decided to confront Blackcloud. Rita Papakee found
Blackcloud at Blackcloud’s sister’s house and asked Blackcloud what she did to Dale and
“what the fuck was the matter with [Blackcloud].” Id. at 114. She asked: “And you guys
used a fucking cucumber on her?” Id. Blackcloud laughed and replied: “Yeah, I did use
a cucumber on her.” Id. Rita Papakee then punched Blackcloud in the face. Blackcloud
just laughed.
       On September 6, 2006, Tama County Deputy Sheriff Wesley Sebetka (“Deputy
Sebetka”) received a call from dispatch that there was a report of a sexual assault on the
Settlement. Deputy Sebetka went to Rodney Papakee’s residence, where he met Dale.
Dale was intoxicated and laying in bed. She had scratches, cuts on her head and multiple
bruises over her body. Dale did not want to talk about a sexual assault, although she
mentioned she had a “scuffle” with Defendant. Id. at 410. Dale later left the Settlement
on a bus towards Omaha, Nebraska.
       On September 8, 2006, FBI Agent Jason Amoriell (“Agent Amoriell”) received a
call from Roger Sanders, Chief of the Meskwaki Nation Police Department, about an
alleged assault at Defendant’s residence. Shortly thereafter, Agent Amoriell met with
members of the Tama County Sheriff’s Department and the Meskwaki Nation Police
Department. Together, they obtained a warrant to search Defendant’s home for evidence
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of a sexual assault.        Agent Amoriell recovered bloody linens from the home. DNA on


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            A more complete version of the events leading to the execution of a warrant at
                                                                            (continued...)

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the linens matched Dale’s DNA. Agent Amoriell also saw cucumber peels in the trash can
in Defendant’s kitchen.
       Also on September 8, 2006, Kristen Hammes (“Nurse Hammes”), a registered
nurse and trained “Sexual Assault Nurse Examiner,” examined Dale in a hospital in
Omaha, Nebraska. Dale told Nurse Hammes that “she had a bottle/glass broken on her
head by [Blackcloud] while [Defendant] assaulted her sexually.” Id. at 159. Dale also
stated that she was vaginally penetrated with a cucumber while resisting.
       Nurse Hammes observed bruises, lacerations and cigarette burns on Dale’s body.
Nurse Hammes took photographs of Dale’s injuries and found that they were consistent
with Dale’s allegations. See Gov’t Exs. 8-13. Nurse Hammes also made a formal report.
See Def. Blackcloud Ex. C. Nurse Hammes did not observe any injuries to Dale’s vaginal
area, but testified as an expert that the lack of such injuries was not necessarily inconsistent
with Dale’s allegations of sexual assault.
                V. ADVISORY SENTENCING GUIDELINES RANGE
       At the Hearing, the court ruled upon two advisory Sentencing Guidelines issues.
The court decided (1) whether a four-level increase is appropriate, pursuant to USSG
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§2A3.1(b)(1) (2007),        because Defendant caused or attempted to cause Dale to engage
in a sexual act by using force against her; and (2) whether Defendant is a career offender
under USSG §4B1.1.
                       A. Base Offense Level—USSG §2A3.1(a)(2)
       The jury convicted Defendant of Sexual Abuse, in violation of 18 U.S.C. § 2242(2).
Accordingly, Defendant’s base offense level was 30, pursuant to USSG §2A3.1(a)(2). See

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        (...continued)
Defendant’s home may be found at United States v. Papakee, No. 06-CR-162, 2007 WL
891717 (N.D. Iowa Mar. 21, 2007).
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          The parties agree that the 2007 edition of the Sentencing Guidelines manual
applies. See PSIR at ¶ 17.

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USSG App. A (stating that convictions under §2242 are judged under USSG §2A3.1).
                           B. Use of Force—USSG §2A3.1(a)(2)
         Section 2A3.1(a)(2) provides for a four-level increase “[i]f the offense involved
conduct described in 18 U.S.C. § 2241(a) or (b) . . . .” USSG §2A3.1(a)(2). As applied
to the facts of this case, Defendant was subject to this four-level increase if he caused Dale
to engage in a sexual act by use of force. That is, Defendant was subject to the sentencing
enhancement if the court found by a preponderance of the evidence that he was guilty of
Aggravated Sexual Abuse.
         Based upon the facts that the court found in Part IV supra, a four-level adjustment
was clearly appropriate. Defendant repeatedly used force against Dale, in order to cause
her to engage in a sexual act. Put simply, Defendant brutalized Dale in a sadistic attempt
to rape her with a vegetable.
         This brought Defendant’s adjusted offense level to 34.
                            C. Career Offender—USSG §4B1.1
         As applied here, the advisory Sentencing Guidelines provide that Defendant’s
adjusted offense level should be increased to 37 and his Criminal History Category
becomes VI if he is a “career offender.” See USSG §4B1.1(b)(A) (provision where
statutory maximum for the offense of conviction is life). Defendant is a career offender
if:
               (1) [he] was at least eighteen years old at the time [he]
               committed the instant offense of conviction; (2) the instant
               offense of conviction is a felony that is either a crime of
               violence or a controlled substance offense; and (3) [he] has at
               least two prior felony convictions of either a crime of violence
               or a controlled substance offense.

Id. §4B1.1(a). At the Hearing, the court found that all three prongs of §4B1.1(a) were met
and thus held that Defendant is a career offender.



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       1.     Defendant was eighteen years old at time of instant offense of conviction
       First, it is undisputed that Defendant was at least eighteen years old at the time he
committed the instant offense of conviction, Sexual Abuse in Indian Country. Defendant
was thirty-four-years old in September of 2006.
       2.     Instant offense of conviction is a felony and a “crime of violence”
       Second, Sexual Abuse in Indian Country is a felony that is a crime of violence. It
is undisputed that Sexual Abuse in Indian Country is punishable by life imprisonment and
is thus a felony. 18 U.S.C. § 2242. However, Defendant argued that Sexual Abuse in
Indian County is not a “crime of violence,” because (1) “force” is not an element of
Sexual Abuse in Indian Country; (2) the Commentary to § 4B1.2 explicitly lists “forcible
sex offenses” but not “nonforcible sex offenses”; and (3) Sexual Abuse in Indian Country
does not involve conduct that presents a serious potential risk of physical injury to another.
The gist of Defendant’s argument is that, because the victim in a Sexual Abuse in Indian
Country case is always unconscious or otherwise unable to resist, there is neither the use
of physical force nor any danger of injury.
       The court found Defendant’s arguments lacked merit.
              The term “crime of violence” means any offense under federal
              or state law, punishable by imprisonment for a term exceeding
              one year, that—

              (1) has as an element the use, attempted use, or threatened use
              of physical force against the person of another, or

              (2) is burglary of a dwelling, arson, or extortion, involves use
              of explosives, or otherwise involves conduct that presents a
              serious potential risk of physical injury to another.

USSG §4B1.2. Although the court cannot find any cases precisely on point, the Ninth
Circuit Court of Appeals has examined a very similar Louisiana statute called “simple



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rape”     and held it met the foregoing definition of “crime of violence.” The Ninth Circuit
Court of Appeals reasoned:
               Personal contact is, of course, part and parcel of simple rape
               or its attempt. . . . [N]o matter how committed, every time a
               perpetrator engages in or attempts to engage in an act of rape,
               some contact with the victim is achieved. Such close
               proximity coupled with the nature of this offense creates an
               atmosphere that fosters the potential for physical confrontation.
               Even in its least violent form, simple rape . . . could result in
               physical injury to the victim.

               For example, if the victim . . . came out of her stupor, the

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               A. Simple rape is a rape committed when the anal or vaginal
               sexual intercourse is deemed to be without the lawful consent
               of a victim who is not the spouse of the offender because it is
               committed under any one or more of the following
               circumstances: (1) When the victim is incapable of resisting or
               of understanding the nature of the act by reason of a stupor or
               abnormal condition of mind produced by an intoxicating agent
               or any cause, other than the administration by the offender,
               and without the knowledge of the victim, of any narcotic or
               anesthetic agent or other controlled dangerous substance and
               the offender knew or should have known of the victim's
               incapacity. (2) When the victim is incapable, through
               unsoundness of mind, whether temporary or permanent, of
               understanding the nature of the act and the offender knew or
               should have know of the victim’s incapacity. (3) When the
               female victim submits under the belief that the person
               committing the act is her husband and such belief is
               intentionally induced by any artifice, pretense, or concealment
               practiced by the offender . . . . B. Whoever commits the
               crime of simple rape shall be imprisoned, with or without hard
               labor, without the benefit of parole, probation, or suspension
               of sentence, for not more than twenty-five years.

La. Rev. Stat. Ann. § 14:43 (West 1998) (emphasis added) (quoted in United States v.
Riley, 183 F.3d 1155, 1157 (9th Cir. 1999)).

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             situation could easily escalate into a violent confrontation.
             While every episode of simple rape may not result in physical
             injury to the victim, the guideline only requires that there be
             a serious potential risk of physical injury, not that the injury in
             fact occur.

             Riley argues that simple rape is not a crime of violence
             because it is merely sex by trickery, deceit, or negligence
             rather than by force. . . . By definition, simple rape can be
             achieved by trickery or deception. It is nonetheless a crime
             against the bodily integrity of the victim. That deception may
             be used to effect the rape does not erase the ever-present
             possibility that the victim may figure out what’s really going
             on and decide to resist, in turn requiring the perpetrator to
             resort to actual physical restraint. Further, rape also subjects
             the victim to the physical risks associated with sexually
             transmitted diseases and pregnancy. As such, it creates a
             serious potential risk of physical injury and is therefore a
             crime of violence under USSG § 4B1.2(a)(2).

             Riley attempts to characterize this crime as nonviolent because
             the victim may initially consent to the sexual encounter but
             lack the legal capacity to do so. However, we refuse to
             minimize a crime solely because its victim may be helpless.
             The Guidelines in fact provide an enhancement for crimes
             committed against such “vulnerable victims.” Moreover, we
             recently observed that sex crimes committed against the
             vulnerable, such as an unconscious or intoxicated individual,
             are particularly egregious and dehumanizing.

United States v. Riley, 183 F.3d 1155, 1157-60 (9th Cir. 1999) (citations, internal
quotation marks and footnotes omitted). In a footnote, the court expressly rejected the
argument that the United States Sentencing Commission’s decision to list “forcible sex
offenses” somehow precludes a finding that “simple rape” is a “crime of violence.” The
Ninth Circuit Court of Appeals observed:
             Riley contends that finding attempted simple rape a crime of
             violence, gives short shrift to the Commentary to USSG

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             §4B1.2, specifically that portion referring to “forcible sex
             offenses.” However, the Commentary states that other crimes
             not specifically listed but that involve serious risk of physical
             injury are considered violent. While all forcible sex offenses
             are crimes of violence[,] it does not follow that no nonforcible
             ones are. Many states still criminalize a host of adult
             nonforcible sex offenses that could not plausibly be thought
             crimes of violence. Thus, our determination that attempted
             simple rape is a crime of violence by no means renders the
             term “forcible” superfluous.

Id. at 1160 n.13 (citations, internal quotation marks and footnotes omitted). The court
agrees with the foregoing analysis and adopts it in full. Sexual Abuse in Indian Country
is a “crime of violence.” USSG § 4B1.2; see also United States v. Austin, 426 F.3d 1266,
1280 (10th Cir. 2005) (holding state statute that criminalized non-forcible statutory rape
was a crime of violence), cert. denied, 546 U.S. 1194 (2006).
      The court’s conclusion is not inconsistent with the Supreme Court’s recent decision
in Begay v. United States, 2008 WL 1733270 (U.S. Apr. 16, 2008). In Begay, the
Supreme Court held that a prior felony conviction for drunk driving under a New Mexico
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state statute, N.M. Stat. Ann. §§ 66-8-102(A) et seq.,        was not a “violent felony” for
purposes of the Armed Career Criminal Act (“ACCA”), 18 U.S.C. § 924(e). 2008 WL
1733270, at *7. Begay is important for present purposes, because the definitions of
“violent felony” in the ACCA and “crime of violence” in §§4B1.1(a) and .2 are nearly
identical and generally interpreted as coextensive. See, e.g., United States v. Doe, 960
F.2d 221, 225 (1st Cir. 1992) (Breyer, C.J.).
      In holding that a conviction under such statute is not a “violent felony,” the
Supreme Court “consider[ed] the offense generically, that is . . . [,] in terms of how the


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          The New Mexico statute criminalizes the operation of a motor vehicle under the
influence of alcohol or with a blood alcohol concentration of .08 or more. N.M. Stat.
Ann. §§ 66-8-102(A), (C).

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law defines the offense and not in terms of how an individual offender might have
committed it on a particular occasion.” Begay, 2008 WL 1733270, at *3 (citing Taylor
v. United States, 495 U.S. 575, 602 (1990) and James v. United States, 127 S. Ct. 1586,
1597 (2005)). The court did not dispute that drunk driving “involves conduct that
‘presents a serious potential risk of physical injury to another.’” Id. at *4. The court
nonetheless held that the defendant’s drunk driving conviction was not a “violent felony,”
because it was “simply too unlike the provision’s listed examples [of burglary, arson,
extortion or crimes involving the use of explosives] . . . to believe that Congress intended
the provision to cover it.” Id. These listed examples immediately precede the “presents
. . . another” clause in the ACCA. 18 U.S.C. § 924(e).
       The Supreme Court held that the presence of the listed examples in the ACCA
“indicates that the statute covers only similar crimes, rather than every crime that ‘presents
a serious potential risk of physical injury to another.’” Begay, 2008 WL 1733270, at *4
(emphasis in original) (quoting 18 U.S.C. § 924(e)(2)(B)(ii)). To qualify, then, a crime
must not only “present a serious potential risk of physical injury to another,” 18 U.S.C.
§ 924(e), but must also be “roughly similar, in kind as well as in degree of risk posed, to
the examples [of burglary, arson, extortion or crimes involving the use of explosives]
themselves.” Begay, 2008 WL 1733270, at *4 (citing Duncan v. Walker, 533 U.S. 167,
174 (2001)).
       The Supreme Court held that drunk driving was not roughly similar, in kind as well
as in degree of risk posed, to burglary, arson, extortion and crimes involving the use of
explosives. The court reasoned:
               [Drunk driving] differs from the example crimes—burglary,
               arson, extortion, and crimes involving the use of
               explosives—in at least one pertinent, and important, respect.
               The listed crimes all typically involve purposeful, “violent,”
               and “aggressive” conduct. That conduct is such that it makes
               more likely that an offender, later possessing a gun, will use


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              that gun deliberately to harm a victim. Crimes committed in
              such a purposeful, violent, and aggressive manner are
              “potentially more dangerous when firearms are involved.”
              And such crimes are “characteristic of the armed career
              criminal, the eponym of the statute.”

              By way of contrast, [drunk driving statutes], such as the statute
              before us, typically do not insist on purposeful, violent, and
              aggressive conduct; rather, they are, or are most nearly
              comparable to, crimes that impose strict liability, criminalizing
              conduct in respect to which the offender need not have had any
              criminal intent at all. The Government argues that “the
              knowing nature of the conduct that produces intoxication
              combined with the inherent recklessness of the ensuing conduct
              more than suffices” to create an element of intent. And we
              agree with the Government that a drunk driver may very well
              drink on purpose. But this Court has said that, unlike the
              example crimes, the conduct for which the drunk driver is
              convicted (driving under the influence) need not be purposeful
              or deliberate.

Id. at *6 (citations omitted).
       In sum, Begay mandates a two-part inquiry. First, the court must find that the
potentially qualifying conviction “involves conduct that presents a serious potential risk of
physical injury” to another. Second, the court must determine whether such conviction
is “roughly similar, in kind as well as in degree of risk posed, to the examples” listed
immediately prior to the phrase “involves conduct that presents a serious potential risk of
physical injury to another.” Begay, 2008 WL 1733270, at *4-6.
       As the court’s discussion of Riley makes clear, the court finds that Sexual Abuse in
Indian Country clearly “involves conduct that presents a serious potential risk of physical
injury” to another. Applying Begay, then, the pivotal inquiry is whether Sexual Abuse in
Indian Country is “roughly similar, in kind as well as in degree of risk posed, to the
examples” listed in §4B1.2. Begay, 2008 WL 1733270, at *4. The examples listed in


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§4B1.2 are burglary of a dwelling,        arson, extortion and crimes involving the use of
explosives. USSG §4B1.2.
       The court holds that Sexual Abuse in Indian Country is sufficiently similar to
burglary of a dwelling, arson, extortion and crimes involving the use of explosives.
Sexual Abuse in Indian Country, that is, raping a person who is unable to resist or
incapable of apprising the nature of the sexual contact in Indian Country, “typically
involve[s] purposeful, ‘violent,’ and ‘aggressive’ conduct.” Begay, 2008 WL 1733270,
*6. Further, Sexual Abuse in Indian Country is potentially more dangerous when firearms
are involved. See id. If the victim were to wake from her stupor or come to fully apprise
the nature of the defendant’s actions, the defendant could murder his victim to cover up
his crime. Simply put, Sexual Abuse in Indian Country is a far cry from the drunk driving
statute at issue in Begay or crimes that “impose strict liability, criminalizing conduct in
respect to which the offender need not have had any criminal intent at all.” Id.
       Accordingly, the court holds that the instant offense of Sexual Abuse in Indian
Country is a felony that is a crime of violence.
       3.     Defendant has two prior convictions for felonies that are crimes of violence
       Third, Defendant concedes that he has at least two prior felony convictions for
crimes of violence. In 1994, Defendant was convicted of Assault with Intent to Commit
Sexual Abuse, in violation of Iowa Code section 709.11 (1993). See PSIR at ¶ 31; see
United States v. Marcos-Quiroga, 478 F. Supp. 2d 1114, 1124 (N.D. Iowa 2007) (Bennett,
J.) (holding that Assault with Intent to Commit Sexual Abuse qualifies as a “crime of
violence” for purposes of §4B1.1). In 2000, Defendant was convicted of Aggravated
Assault, in violation of Iowa Code sections 708.1 and .2(1) (1999). See PSIR at ¶ 34; see,
e.g., United States v. Thomas, 832 F. Supp. 1297, 1304 (N.D. Iowa 1993) (Hansen, J.)


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          Whereas the ACCA lists “burglary,” §4B1.2 substitutes “burglary of a
dwelling.”

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(holding that Aggravated Assault qualifies as a “crime of violence” for purposes of
§4B1.1).
       4.     Conclusion that Defendant is a career offender
       Accordingly, the court held that Defendant is a career offender. This brought
Defendant’s total offense level under the advisory Sentencing Guidelines to 37.
                              D. Criminal History Category
       Absent a finding that Defendant is a career offender, it was undisputed that he
would be a Criminal History Category IV. Because Defendant is a career offender, he
is a Criminal History Category VI. USSG §4B1.1(b).
                       E. Advisory Sentencing Guidelines Range
       Defendant’s total offense level was 37, and he was a Criminal History Category
VI.   No traditional departures were warranted. Accordingly, the court found that
Defendant’s advisory Sentencing Guidelines range was 360 months to life imprisonment.
See USSG Sentencing Table.
                                     VI. SENTENCE
       After considering all of the factors at 18 U.S.C. § 3553(a), the court found that a
sentence of 360 months of imprisonment was appropriate. The court denied Defendant’s
motion for a downward variance from the advisory Sentencing Guidelines range, because
a sentence below the advisory Sentencing Guidelines range of 360 months to life
imprisonment would run afoul of the § 3553(a) factors. See also Part VII infra (discussing
reasons for alternative variance).
                           VII. ALTERNATIVE VARIANCE
       In the event that the court erred in finding that Defendant is a career offender, it is
undisputed that his total offense level would be 34 and he would be a Criminal History
Category IV. Accordingly, were Defendant not a career offender, Defendant’s advisory
Sentencing Guidelines range would be 210 to 262 months of imprisonment.


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       Even if Defendant were not a career offender, however, after considering all of the
§ 3553(a) factors the court would vary upward and still impose a sentence of 360 months
of imprisonment. The court recognizes that the Eighth Circuit Court of Appeals has
previously held that such alternative variances sometimes will not survive appellate
scrutiny. See, e.g., United States v. Bah, 439 F.3d 423, 430-32 (8th Cir. 2006). Bah is
distinguishable from the present case, however, because here the court is basing its
alternative variance upon a specific, identifiable alternative range and has not imposed a
“blanket identical alternative sentence.” Cf. Bah, 439 F.3d at 431 (criticizing the district
court for imposing a “blanket identical alternative sentence,” because it “effectively ha[d]
ignored the requirement . . .to first determine the appropriate guidelines sentencing range
for the alternative sentence” (citations and internal quotation marks omitted)). In other
words, there is a meaningful difference between identifying an alternative variance from
a specific alternative advisory Sentencing Guidelines range and announcing an alternative
sentence whatever the advisory Sentencing Guidelines range might be. In the former
instance, the advisory Sentencing Guidelines retain their status as “the starting point and
the initial benchmark,” Gall, 128 S. Ct. at 596-97, and there is no danger that the district
court has wholly ignored the advisory Sentencing Guidelines. In any event, the continuing
viability of Bah is highly questionable in light of Gall and intervening decisions of the
Eighth Circuit Court of Appeals. See, e.g., United States v. Freemont, 513 F.3d 884,
890-91 (8th Cir. 2008) (considering two alternative variances on the merits in a post-Gall
appeal).
       When the court considers all of the § 3553(a) factors, the reasons for a sentence of
360 months of imprisonment are clear. A jury found Defendant guilty of a serious offense,
Sexual Abuse in Indian Country.        The facts and circumstances of the abuse were
particularly aggravating, as the court’s factual findings in Part IV supra show. Defendant
and Blackcloud physically and sexually abused an adult female. The sexual abuse involved


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the use of a cucumber, which was inserted into the vaginal opening of the victim. The
victim was so intoxicated that she could not resist and she was conscious only periodically
during the commission of the sexual acts.
       Defendant is a dangerous man. He has repeatedly engaged in crimes of violence
in his relatively short life. These crimes of violence include Assault Causing Injury, in
violation of Iowa Code sections 708.1 and .2(2) (1993), see PSIR at ¶ 30; Assault with
Intent to Commit Sexual Abuse, in violation of Iowa Code section 709.11 (1993), see PSIR
at ¶ 31; and Aggravated Assault, in violation of Iowa Code sections 708.1 and .2(1)
(1999), see PSIR at ¶ 34. The facts of the latter two crimes of violence show a pattern of
violent conduct toward females and the vulnerable.
       The Assault with Intent to Commit Sexual Abuse occurred while the victim, a
fifteen-year old girl, was asleep at Defendant’s residence. PSIR at ¶ 31. Defendant pulled
down the child’s shorts, placed his hand in her underwear and tried to put his finger into
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her vagina. Id. The child awoke as Defendant tried to penetrate her vagina. Id.
       The Aggravated Assault occurred when Defendant and a female entered a residence
without permission and attacked two sleeping victims. Defendant held down a female
victim, while he and his accomplice repeatedly struck her. Defendant shouted “Fuck you,
bitch.” PSIR at ¶ 34. Defendant beat the victim so hard that her “nose was extremely
disfigured and her upper front tooth was broken.” Id.

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           At trial, the court excluded evidence of Defendant’s 1994 conviction, pursuant
to Federal Rule of Evidence 403. See United States v. Papakee, No. 06-CR-162-LRR,
2007 WL 1058471, *5 (N.D. Iowa Apr. 5, 2007). At the time, the court did not know
that the facts underlying such conviction were similar to the instant offense of conviction.
See id. at *3 (“There is no evidence in the record that indicates that the conduct underlying
the 1994 [c]onviction was similar to the alleged conduct underlying the Superseding
Indictment.”). The government made no attempt to prove the facts underlying the 1994
conviction in the present matter; the USPO brought the facts to the court’s attention in its
investigation of Defendant’s criminal history. Defendant did not object to the relevant
portions of the PSIR.

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       Based on Defendant’s conduct in this case and his history of violence toward others,
the court finds he is dangerous and is at a high risk to re-offend—likely by causing physical
harm to others. Without a career offender finding, Defendant’s advisory Sentencing
Guidelines range would substantially under-represent his criminal history and the
likelihood he will re-offend.
       Three serious offenses were not scored under the advisory Sentencing Guidelines,
because they were committed some time ago. Specifically, the advisory Sentencing
Guidelines did not score (1) Defendant’s 1992 conviction for Operating While
Intoxicated—First Offense, in violation of Iowa Code section 321J.2 (1991), see PSIR at
¶ 29; (2) Defendant’s 1994 conviction for Assault Causing Injury, in violation of Iowa
Code sections 708.1 and .2(2) (1993), see PSIR at ¶ 30; and Defendant’s 1996 conviction
for Operating While Intoxicated—Second Offense, in violation of Iowa Code section
321.J.2 (1995), see PSIR at ¶ 32.
       Even though the Supreme Court has recently held that drunk driving is technically
not a “violent felony” for purposes of the ACCA, drunk driving remains a very serious
offense. Drunk driving poses a great risk of harm to innocent members of the public and
law enforcement. As the majority of the Supreme Court stated, “[d]runk driving is an
extremely dangerous crime.” Begay, 2008 WL 1733270, at *4. “In the United States in
2006, alcohol-related motor vehicle crashes claimed the lives of more than 17,000
individuals and harmed untold amounts of property.” Id. (citation omitted). The dissent
agreed with this assessment. The dissent pointed out:
              Statistics dramatically show that driving under the influence of
              alcohol is very dangerous. Each year, approximately 15,000
              fatal alcohol-related crashes occur, accounting for roughly
              40% of all fatal crashes. Approximately a quarter million
              people are injured annually in alcohol-related crashes. The
              number of people who are killed each year by drunk drivers is
              far greater than the number of murders committed during. . . .
              burglary, arson, extortion, and offenses involving the use of

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              explosives.

Id. at *13 (Alito, J., dissenting) (footnotes omitted).
       Accordingly, if the court erred in its calculation of Defendant’s advisory Sentencing
Guidelines range and Defendant’s properly calculated range is 210 to 262 months of
imprisonment, the court would nonetheless vary upward and impose a sentence of 360
months of imprisonment. The court so found after considering all of the § 3553(a) factors.
                                  VIII. DISPOSITION
       After all applicable adjustments, the court found that Defendant’s total offense level
was 37.    The court also found that Defendant was a Criminal History Category VI.
Accordingly, the court found that Defendant’s advisory Sentencing Guidelines range was
360 months to life imprisonment. See USSG Sentencing Table. After considering all of
the factors at 18 U.S.C. § 3553(a), the court found that a sentence of 360 months of
imprisonment was appropriate.
       IT IS SO ORDERED.
       DATED this 24th day of April, 2008.




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